     Case 6:07-cr-00031-WTM-GRS Document 580 Filed 05/05/09 Page 1 of 2


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               UNITED STATES DISTRICT COURT
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               SOUTHERN DISTRICT OF GEORGIA
                                           CLEF-c
                   STATE SBORO DIVISION       ')•                            Tt\.


UNITED STATES OF AMERICA          )
                                  )
                                  )      Case No. CR607-031
                                  )
JIMMY LEE EVERETT                 )
                                  )
           Defendant              )
                               ORDER

     On January 25, 2008, Suk Kang Lee agreed to serve as surety for

defendant Jimmy Lee Everett, who was required to post a $100,000.00

bond secured by cash or property equal to 50 percent of that amount. Ms.

Lee executed the "Appearance Bond" and later deposited $50,000.00 into

the Registry of the Court, thus enabling Everett to secure his release.

(Doe. 113.) Mr. Everett was subsequently arrested based on evidence

that he had solicited a witness to give false testimony in connection with

this case. He was then charged in a separate federal indictment with

felony obstruction of justice. See United States v. Jimmy Lee Everett,

CR608-008 (filed May 6, 2008).
     Case 6:07-cr-00031-WTM-GRS Document 580 Filed 05/05/09 Page 2 of 2




     Ms. Lee has written a letter to the Court "petitioning for the release

of [the] bond money" that she deposited as surety in this case, She states

in her letter that she is destitute, depends upon the charity of others, and

needs the money to provide for herself and her children. The Court

DIRECTS the Clerk to file Ms. Lee's letter as a motion for release of the

funds that she posted as surety on Mr. Everett's bond.

     The government has previously filed a motion for forfeiture of

Everett's bond due to his engaging in criminal conduct while on pretrial

release. (Doc, 405.) In light of Ms. Lee's motion, the Court will afford the

government 10 days within which to either reconsider its earlier motion

or respond in opposition to Ms. Lee's petition.

      SO ORDERED this 5th day of May, 2009.


                                                UNITED STATES MAGISTRATE JUDGE
                                                SOUTHERN DISTRICT OF GEORGIA




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